Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 1 of 28 Page ID #:4




                                   Exhibit 1
                                      3
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 2 of 28 Page ID #:5



                                                                                                                                                                     10
    ATTQRNEY OR MTV WITHOULATJOIINITINeMe, State Bar nunlber, and address):
                                                                                 ,
— Alan S. Turlington (SUN 293733)
         TUSH LAW LTD.
         1415 Warner Avenue, Ste, B
         llutin CA 92780
              TELEPHONE NO.:     949-575-8874                  FAX NO.:   833-329-8874                                    F ILED
    ATTORNEY FOR (Mama):         George Dumas                                                                        PRIOR URT
                                                                                                              C UN OF SAN RNARDINO
SUPERIOR COURT OF CALIFORNUk, COUNTY OF SAN                  BERNARDINO                                         AN RERNARDINWDISTRICT
    •        STREET ADDRESS:     247 W. 3rd Street
             MAILING ADDRESS:                                                                                             AUG 1 0 2041
            CITY AND ZIP CODE:   San Bernardino 92415
•               ORANCH NAME:     San Bernardino Superior Court
        CASE NAME:                                                                                          BY
        DUMAS v. CITY OF BARSTOW, et al.                                                                           ,
                                                                                                           CASE NUMBER:
    CIVIL CASE COVER SHEET                           Complex Case Designation
 1      v
      Unlimited
      (Amount
                     El Limited
                           (Amount
                                                       CounterEl            Joinder  1- 1                  CIV SB 2 1 22 4 8 7
                                                                                              JUDGE:
      demanded             demanded is          Filed with first appearance by defendant
      exceeds $25,000)     $25,000 or less)          (Cal. Rules of Court, rule 3.40'2         DEPT:

                              Items 16 below must be completed (see Mstmattons on page 2).
1. Check one box below for the case type that best describes this case:
   Auto 'Tort                                  Contract                                Provisionally Complex Civil Litigation
                                                          Breach of contract/warranty (06) (Cal. Rules of Court, rules 3.400-3.403)
         11
          Auto (22)
          Uninsured motorist (46)
    Other PIIPDAVD (Personal Injury/Property
                                                   El Rule 3/40 collections (09)
                                                   17 Other collections (09)
                                                                                           Li Antitrust/Trade regulation (03)
                                                                                                 Construction defect (10)
    Datnage/Wrongful Death) Tort                          Insurance coverage (18)                 Mass tort (40)
  - El Asbestos (04)                               El Other contract (37)                  El Securities litigation (28)
         RProduct liability (24)
           Medical malpractice (45)
    El Other PI/PD/WD (23)
                                                   Real Property
                                                   ED Eminent domain/inverse
                                                         condemnation (14)
                                                                                           Li Environmental/Toxic tort (30)
                                                                                           Li insurance coverage claims arising from the
                                                                                                  above listed provisionally complex case
    Non-PI/PD/WO (Other) Tort                      IT]• Wrongful eviction (33)                    types (41)
    El Business tort/unfair business practice (07) ri • other real property (26)           Enforcement of Judgment
          Civil rights (06)                        Unlawful Detainer                       =      Enforcement of Judgment (20)
          Defamation (13)                          EJ    Commercial    (31)                Miscellaneous Civil Complaint
          Fraud (16)                                      Residential (32)                 El RICO (27)
          Intellectual property (19)               El Drugs (38)                           Li Other complaint (not specified above) (42)
          Professional negligence (25)             Judicial Review                         Miscellaneous Civil Petition
    Li Other non-Pl/PDNVD tort (35)                      Asset forfeiture (05)             El Partnership and corporate governance (21)
    _i_vloyment
    Er                                             ED Petition re: arbitration award (11) r --1 Other petition (not specified above) (43)
    Lj Wrongful termination (36)                         Writ of mandate (02)
    ni Other employment (15)                               El
                                                         Other judicial review (30)
2. This case            I s          is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            factors requiring exceptional judicial management:
            a El Large number of separately represented parties                 d tEl Large numbel- of witnesses'
            b.CI     Extensive motion practice raising difficult or novel       e     Coordination with related actions pending in one or more courts
                     issues that will be time-consuming to resolve                    in other counties, states, or countries, or in a federal court
            c.I=1:1 Substantial amount of documentary evidence                  f. El Substantial postjudgment judicial supervision
3.        Remedies sought (check all that apply): a.1- 1 monetary b.            Li
                                                                                nonmonetary; declaratory or injunctive relief                   0.   =punitive
4.        Number of causes of action (specify): ONE
5.        This case        I is        El
                                      is not a class action suit.
6.        If there are any known related cases, file and serve a notice of related case. (You nay use fonn CM-015
Date: 8/2/2021
Alan S. Turlington
                                   (TYPE OR PRINT NAME)                                              GRA   RE OF            A ORNEY FOR
                                                                             NOTICE
     •    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims caSes or cases filed
          under the Probate Code, Family Code, or VVetfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
          in sanctions.
     •    File this cover sheet in addition to any cover sheet required by local court rule.
     •    if this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
          other parties to the action or proceeding.
     •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                              Paipt 1 02
Form Adopted for Mandatory Use                                                                                 Cal, Rules ot Court rules 2.30, 3,220, 3,400-3.403, 3.740;
  Judicial Council ol California                           CIVIL CASE COVER SHEET                                      Cat Standards of Judicial Adminielmtion, std, 3.10
  CM-010 [Rev. July 12007]                                                                                                                          www.00urtinfo.ca00Y


                                                                              Exhibit 1
                                                                                 4
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 3 of 28 Page ID #:6




                                                                                                                                     C1111.010
                                     INSTRUCTIONS ON HOW TO•COLIPLETE T E COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) In a civil case, you must
complete and file, alang with your first paper, the Civil Case Cover Sheet contained n page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 rough 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a getter. I and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the x that best indicates the primary cause of action.
To assist you in completing the sheet examples of the cases that belong under ea case type in item 1 are provided below. A cover
sheet must be filed only with your Initial paper. Failure to file a cover sheet with the t paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court,
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.7'O Is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of inte t and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does ot include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of ersonal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this fo means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant file a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3 740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the lifomia Rules of Court, this must be indicated by
 completing the appropriate boxes in items 'I and 2. If a plaintiff designates a case as mplex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later tha the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case Is not complex, or, if the pl Intiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal,
     Auto (22)-Personal Injury/Property           Breach of Contract/Warranty (06)               Rules of Court Rules 3.400- 3.403)
          Damage/Wrongful Death                        Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) Of the                        Contract (not unlawful detainer            Construction Defect (10)
 •        case involves an uninsured                           or wrongful eviction)                  Claims Involving Mass Tort (40)
         motorist claim subject to                     Contract/Warranty Breath- Seller               Securities Litigation (28)
          arbitration, check this item                     Plaintiff (not fraud or negligen )         Environmental/Toxic Tort (30)
         Instead of Auto)                              Negligent Breach of contract/                  Insurance Coverage Claims
Other PUPDIVIID (Personal injury/                          Warranty                                       (arising from provisional6t complex
Property Damage/Wrongful Death)                        Other Breath of ContracteNarranty                  case type listed above) (41)
Tort                                              Collections (e.g., money owed, open             Enforcement of Judgment
    Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               INrongful Death                             Case                                           Confession of Judgment (non-
    Product Liability (not asbestos or            Insurance Coverage (not provisionally                         domestic relations)
         fork/environmental) (24)                      complex) (18)                                      Sister State Judgment
    Medical Malpractice (45)                           Auto Subrogation                                   Administrative Agency Award
         Medical Malpractice-                          Other Coverage                                         (not unpaid taxes)
               Physicians & Surgeons              Other Contract (37)                                     Petition/Certification of Entry of
         Other Professional Health Cate                Contractual Fraud                                      Judgment on Unpaid Taxes
               Malpractice                             Other Contract Dispute                             Other Enforcement of Judgment
    Other PI/PD/WD (23)                        Real Property                                                   Case
         Premises Liability (e.g., slip           Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                               Condemnation (14)                              RICO (27)
         Intentional Bodily lnjury/PD/WD          Wrongful Eviction (33)                              Other Complaint (not specified
                (e.g., assault, vandalism)                                                                above) (42)
                                                   Other Real Property (e.g., quiet title) (26            Declaratory Relief Only
         Intentional Infliction of                    Writ of Possession of Real Property
                Emotional Distress                    Mortgage Foreclosure
                                                                                                          Injunctive Relief Only (non-
         Negligent infliction of                                                                               harassment)
                                                      Quiet Title
               Emotional Distress                     Other Real Property (not eminent                   Mechanics Lien
         Other PUPDAND                                domain, landlord/tenant, or                         Other Commercial Complaint
Non-PUPDAND (Other) Tort                              foreclosure)                                             Case (non-tortMon-compler)
                                               Unlawful Detainer                                          Other Civil Complaint
    Business Tort/Unfair Business
                                                                                                              (non4ort/non-complex)
       Practice (07)                               Commercial (31)
    Civil Rights (e.g., discrimination,                                                           Miscellaneous Civil Petition
                                                  Residential (32)                                   Partnership and Corporate
        false arrest) (not civil                  Drugs (38) (if the case involves Illegal
         harassment) (08)                                                                                 Governance (21)
                                                       drugs, check this item; otherwise,            Other Petition (not specified
   Defamation (e.g., slander, libel)                   report as Commercial or f?esklenlial
          (13)                                                                                           above) (43)
                                               Judicial Review                                            Civil Harassment
   Fraud (16)                                     Asset Forfeiture (05)
    Intellectual Property (19)                                                                           Workplace Violence
                                                  Petition Re: Arbitration Award (11)                     Eider/Dependent Adult
   Professional Negligence (25)                   Writ of Mandate (02)
        Legal Malpractice                                                                                      Abuse
                                                       Writ-Administrative Mandamus                      Election Contest
        Other Professional Malpractice                 Writ-Mandamus on Limited Court
            (not medical or legal)                                                                       Petition for Name Change
                                                          Case Matter                                    Petition for Relief From Late
     Other Non-PI/PD/VVD Tort (35)                    Writ-Other Limited Court Case
Employment                                                                                                     Claim
                                                          Review                                         Other Civil Petition
    Wrongful Termination (36)                     Other Judicial Review (39)
    Other Employment (15)                             Review of Health Officer Order
                                                      Notice of Appeal-Labor
                                                          Commissioner        eats
CM-010 May. July 1, 2007.1                                                                                                               *202
                                                   CIVIL CASE COVER SHEET


                                                                Exhibit 1
                                                                   5
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 4 of 28 Page ID #:7




  I    Alan S. Turlington (SBN 293733)                               c gragfAtinitir
       TUSH LAW LTD,
  2    1415 Warner Avenue, Ste. B                                         AUG 0 2O$
  3    Tustin, CA 92780
       Telephone: (949) 575-8874
  4    Facsimile: (833) 329-8874                                              kic   1,14lcik
       Email: contact@tushlaw.com
  5
  6    Attorneys for Plaintiff
       GEORGE DUMAS
   7
   8                      SUPERIOR COURT FOR THE STATE OFI CALIFORNIA
  9
                                     COUNTY OF SAN BERNARDINO
 10
 11    GEORGE DUMAS                                   Case No.:CI     SB 2 1 2 2 4 8 2
 12
                       Plaintiffs,
 13                                                   COMPLAJF4T FOR DAMAGES FOR
                                                      NEGLIGE CE AND STATUTORY
               vs.                                    LIABILITY
 14
 15    CITY OF BARSTOW, COUNTY OF SAN                 DEMAND FOR JURY TRIAL
       BERNARDINO, U.S. DEPARTMENT OF
 16    THE INTERIOR BUREAU OF LAND
       MANAGEMENT and DOES 1 through 100,
 17    inclusive,
 18
                       Defendants.
 19
 20           TO THE HONORABLE COURT, ALL PARTIES,                        THEIR COUNSEL:
  21          Plaintiff GEORGE DUMAS complains and alleges as f llows:
 22
                                     PREL1a    ARY AL EGATI           S
 23
          1, Plaintiff GEORGE DUMAS ("Plaintiff') is an individu residing within the County of
 24
       Los Angeles, State of California.
 25
          2. Plaintiff is informed and believes and based thereon alle es that Defendants CITY OF
 26
       BARSTOW, COUNTY OF SAN BERNARDINO and U.S. DE ARTMENT OF THE
 27
       INTERIOR BUREAU OF LAND MANAGEMENT (hereinafte , collectively referred to as
 28


                                               COMPLAINT


                                                Exhibit 1
                                                   6
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 5 of 28 Page ID #:8




  1    Alan S. Turlington (SBN 293733)
       TUSH LAW LTD.
  2    1415 Warner Avenue, Ste. B
  3    Tustin, CA 92780
       Telephone: (949) 575-8874
  4    Facsimile: (833) 329-8874
       Email: contact@tushlaw.com
   5
  6    Attorneys for Plaintiff
       GEORGE DUMAS
   7
   8                      SUPERIOR COURT FOR THE STA'1E OF CALIFORNIA
   9
                                     COUNTY OF SAN BERNARDINO
  10
  11   GEORGE DUMAS                                   Case No.:
  12
                       Plaintiffs,
                                                      COMPLAINT FOR DAMAGES FOR
  13                                                  NEGLIGENCE AND STATUTORY
               VS.                                    LIABILITY
  14
  15   CITY OF BARSTOW, COUNTY OF SAN                 DEMAND FOR JURY TRIAL
       BERNARDINO, U.S. DEPARTMENT OF
  16   THE INTERIOR BUREAU OF LAND
       MANAGEMENT and DOES 1 through 100,
  17   inclusive,
  18
                       Defendants.
  19
  20          TO THE HONORABLE COURT, ALL PARTIES, AND THEIR COUNSEL:
  21          Plaintiff GEORGE DUMAS complains and alleges as follows:
  22
                                     PRELIMINARY ALLEGATIONS
  23
          1, Plaintiff GEORGE DUMAS ("Plaintiff') is an individual residing within the County of
  24
       Los Angeles, State of California.
  25
          2. Plaintiff is informed and believes and based thereon alleges that Defendants CITY OF
  26
       BARSTOW, COUNTY OF SAN BERNARDINO and U.S. DEPARTMENT OF THE
  27
       INTERIOR BUREAU OF LAND MANAGEMENT (hereinafter, collectively referred to as
  28


                                               COMPLAINT




                                               Exhibit 1
                                                  7
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 6 of 28 Page ID #:9




  1    "Defendants") were each a municipal corporation duly organized and existing under the laws of
   2   the State of California.
   3       3. Plaintiff is informed and believes, and based thereon alleges, that at all times relevant
   4   herein, each of the Defendants, including DOES 1 through 100, inclusive (hereinafter
   5   collectively "Defendants"), was the agent of each of the remaining Defendants, and each such
  6    Defendant empowered and authorized each of the remaining Defendants to act and did in fact act
   7   as the agent of each of the remaining Defendants within the course and scope of such agency.
   8
       Plaintiff is further informed and believes, and based thereon alleges, that the acts of each
   9
       Defendant alleged herein were ratified, authorized or otherwise approved by each of the
  10
       remaining Defendants.
  11
           4. Plaintiff is ignorant of the true names and specific capacities of Defendants sued herein a
  12
       DOES 1 through 100, inclusive, and therefore sues these defendants by fictitious names. Plainti
  13
       is informed and believes, and based thereon alleges, that each such fictitiously named defendant
  14
       is responsible in some manner for the acts alleged in this complaint which proximately caused
  15
       injury and damage to Plaintiff as herein alleged. Plaintiff will amend this complaint to allege the
  16
       true names and capacities of these fictitious defendants when their identities are ascertained.
  17
       Each reference in this complaint to Defendants or to a specifically named defendant refers also to
  18
       all defendants sued under aforesaid fictitious names.
  19
  20       5. Plaintiff has fully satisfied the statutory requirements of pursuing this suit against

  21   Defendants by presenting a timely Notice of Claim pursuant to Government Code §§ 910 and

  22   915 within the six-month statutory timeframe. Plaintiff duly and timely submitted claims to

  23   Defendants CITY OF BARSTOW and COUNTY OF SAN BERNARDINO on January 28, 2021

  24   and to Defendant U.S. DEPARTMENT OF THE INFERIOR BUREAU OF LAND
  25   MANAGEMENT ("BLM") on February 11, 2021, a true and correct copy of each which is
  26   attached hereto as Exhibit "A". Defendants are in receipt of the respective claims. Defendant
  27   COUNTY OF SAN BERNARDINO responded on or around February 10, 2021 and Defendant
  28   BLM responded on or around June 22, 2021. A true and correct copy of each is attached hereto

                                                         2
                                                   COMPLAINT




                                                   Exhibit 1
                                                      8
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 7 of 28 Page ID #:10




   1   as Exhibit "B". As such, Plaintiff brings this lawsuit in a timely manner pursuant to Government
   2   Code § 945.6(a)(2).
   3                                  FIRST CAUSE OF ACTION FOR
   4                          NEGLIGENCE AND STATUTORY LIABILITY
   5                                            (All Defendants)
   6       6. Plaintiff re-alleges and incorporates herein by this reference, as though fully set forth,
   7   each and every allegation contained in the Preliminary Statement hereinabove.
   8
           7. At all times herein mentioned, Defendants and Does 1 through 100, and each of them,
   9
       owned, operated, leased, possessed, maintained and controlled the premises, including, but not
  10
       limited to City of Barstow and surrounding regional public park land between Calico Ghost
  11
       Town and Coyote Lake in the County of San Bernardino, State of California (hereinafter the
  12
       "SUBJECT PREMISES").
  13
          8. The SUBJECT PREMISES are public property, owned, operated and maintained by
  14
       Defendants and DOES 1 through 100.
  15
          9. On or about July 11, 2020, Plaintiff was hiking in the SUBJECT PREMISES in an area
  16
       designated for public use and travel. While at the SUBJECT PREMISES that same day, Plaintiff
  17
       unknowingly contracted "Valley Fever." Valley Fever, also called coccidioidomycosis, is an
  18
  19   infection caused by the fungus Coccidioides.

  20      10.The fungus, Coccidioides, is known to live in the soil in the southwestern United States

  21   including in the SUBJECT PREMISES as well as other counties bordering the County of San

  22   Bernardino in the State of California.

  23      11.On or about August 6, 2020, Plaintiff suddenly became deathly ill and was hospitalized.

  24      12.On or about August 16, 2020, after suffering a near fatal reaction to illness and several
  25   false diagnoses, Plaintiff was finally diagnosed with Valley Fever by a medical doctor and
  26   leading infectious disease specialist.
  27      13.At all times herein pertinent, Plaintiff was legally and foreseeably on the SUBJECT
  28   PREMISES as a lawful guest of the public park area during normal daytime hours. Plaintiff was

                                                         3
                                                   COMPLAINT




                                                   Exhibit 1
                                                      9
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 8 of 28 Page ID #:11




   1   using the property with due care in a manner that was reasonably foreseeable to Defendants, in
   2   that Plaintiff was simply hiking and traveling through the SUBJECT PREMISES for recreation.
   3   Therefore, a substantial risk of injury to Plaintiff and others existed by way of this dangerous
   4   condition of public property.
   5      14.Defendants, and each of them, failed to warn members of the general public, including
   6   Plaintiff, of the dangerous condition on public property, namely the presence of the dangerous
   7   and potentially lethal fungus, Coccidioides.
   8
          15.This dangerous condition existed for a substantial amount of time. Therefore, Defendants
   9
       had actual or constructive notice of this condition and failed to remedy it in a timely manner to
  10
       avoid an unnecessary risk of injury to plaintiff and others.
  11
          16.Defendants, and each of them, owned a duty of care to Plaintiff and other lawful entrants
  12
       of the SUBJECT PREMISES traveling on the SUBJECT PREMISES or using the land for
  13
       recreational purposes to exercise ordinary and reasonable care in the management, maintenance,
  14
       and supervision of the SUBJECT PREMISES so as to prevent harm to, and not endanger,
  15
       Plaintiff and other persons.
  16
          17.Defendants breached that duty by, among other things, failing to properly inspect and
  17
       monitor the SUBJECT PREMISES for the presence of Coccidioides, failing to properly maintain
  18
       the SUBJECT PREMISES by eliminating and mitigating the dangers posed by exposure to
  19
  20   Coccidioides, allowing the SUBJECT PREMISES to become a dangerous condition, failing to

  21   remedy the dangerous condition, and failing to provide advance notice or warnings to members

  22   of the public such as PLAINTIFF about the existence of the dangerous condition and their

  23   potential exposure to Coccidioides.

  24      18.The dangerous situation described herein was directly attributable wholly or in
  25   substantial part to the negligent and wrongful acts and conduct of Defendants, and each of them,
  26   as set forth above. The dangerous condition had existed for such a period of time and was of
  27   such an obvious nature that Defendants, in the exercise of such authority and responsibility with
  28   due care, should have discovered the condition and its dangerous character.

                                                         4
                                                   COMPLAINT




                                                  Exhibit 1
                                                     10
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 9 of 28 Page ID #:12




   I       19.As a direct result of these acts and failures to act by Defendants and DOES 1 through
   2   100, and each of them, breached their statutory standard of care and are liable for the injuries to
   3   Plaintiff under Civil Code sections 1714(a), 2338 and 2343 and including, but not limited to,
   4   Government Code sections 815.2(a), 820(a), 835 and 840.2.
   5       20.As a proximate result of the acts and omissions of the Defendants, and each of them,
   6   Plaintiff was hurt and injured in his health, strength, and activity, having sustained injuries, all of
   7   which caused and continue to cause Plaintiff great mental, physical, and nervous pain and
   8
       suffering. Plaintiff is informed and believes and thereby alleges that said injuries will result in
   9
       some permanent disability to Plaintiff, all to Plaintiff's general damage in an amount in excess of
  10
       the minimum jurisdictional limits of this court.
  11
           21.As a further direct and proximate result of the acts and omissions of the Defendants, and
  12
       each of them, as aforesaid, Plaintiff has incurred and will in the future incur expenses for
  13
       treatment of his injuries, the exact nature and extent of which are unknown to Plaintiff at this
  14
       time and Plaintiff will ask leave of court to amend the complaint according to proof when the
  15
       same are ascertained at trial.
  16
           22.As a further direct and proximate result of the acts and omissions of the Defendants, and
  17
       each of them, as aforesaid, Plaintiff will be unable to pursue his vocation and has therefore
  18
  19   suffered and will suffer in the future, a loss of earnings and earning capacity, the exact amount of

  20   which is unknown to Plaintiff at this time, and Plaintiff will ask leave of court to amend the

  21   complaint according to proof when the same are ascertained at trial.

  22       23.As a further direct and proximate result of the acts and omissions of the Defendants, and

  23   each of them, Plaintiff was required to incur other economic losses all in an amount according to

  24   proof.
  25                                         PRAYER FOR RELIEF
  26            WHEREFORE, Plaintiff GEORGE DUMAS prays for judgment against Defendants, and
  27   each of them, as follows:
  28            1.     For all general damages, according to proof;

                                                          5
                                                    COMPLAINT




                                                    Exhibit 1
                                                       11
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 10 of 28 Page ID #:13




    I         2.     For all special damages, according to proof;
    2         3.     For medical and health care expenses, according to proof; and
    3         4.     For lost earnings and earning capacity, according to proof.
    4         5.     For pre-judgment interest;
    5         6.     For costs of suit incurred herein; and
    6         7.     For such other and further relief as the court may deem just and proper.
    7
    8
    9
   10   Dated: August 10, 2021                  TUSH LAW LTD.
   11
   12
   13                                           By:
                                                         ALAN S. TURLINGTON
   14                                             Attorneys for Plaintiff,
                                                  GEORGE DUMAS
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                       6
                                                   COMPLAINT




                                                  Exhibit 1
                                                     12
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 11 of 28 Page ID #:14




   1

   2

   3

   4

   5

   6

   7

   8

   9

   10                           E3a1IBIT A
   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

    28

                                         7
                                     COMPLAINT




                                    Exhibit 1
                                       13
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 12 of 28 Page ID #:15




                                                                                                    RESERVE FOR FILING STAMP


                                                      CLAIM FOR MONEY OR
                -   -
                                                       DAMAGES AGAINOT
        Personally Deliver or Mail to the:            THE CITY OF BARSTOW
            City Clerk of the Council
                  City of Barstow
       220 E. Mountain View Street Suite A
               Barstow, CA 92311


  Note: A claim relating to a cause of action for death or for injury to person or to personal property or growing crops shall be
  presented not later than six months after the accrual of the cause of action. A claim relating to any other cause of action shall be
  presented not later than one year after the accrual of the cause of action. See California Government Code §911.2.

  If additional space Is needed to provide your information, please attach separate sheets which identify the paragraph(s)
  being answered. Sign, date and number all attachments to the claim form.

  1.       Name and Post Office address of the Claimant:

            Name of Claimant: George Dumas
            Post Office Address:1415 Warner Avenue, Ste.B, Tustin, CA 92780

            Telephone: 949_575_8874

           Post Office address to which the person presenting the claim desires notices to be sent:

            Name of Addressee: Alan S. Turlington                                        Relationship to Claimant: Attorney
            Post Office Address: 1415 Warner Avenue, Ste. B Tustin, CA 92780

            Telephone:

  3.      Claimant date of birth, Social Security Number and gender:

           Date of Birth: 6/10/1985
           Social Security Number:    uNK
           Gender: Male

          Section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007 (MMSEA) (PI, 110-173), adds
          mandatory reporting requirements for liability insurance (including self-insurance), See 42 U.S.C. 1395y(b)(9).
          The City/Agency is requesting this information in order to comply with the requirements of MMSEA and will not
          disseminate this information, except for reporting purposes as required by the Act referenced above. You
          understand that if you are a Medicare beneficiary and you do not provide the requested information, you may be
          violating obligations as a beneficiary to assist Medicare in coordinating benefits to pay your claims correctly
          and promptly.

 4.       The date, place and other circumstances of the occurrence or transaction which gave rise to the claim asserted.

           Date of Occurrence: 8/6/2020                                                  Time of Occurrence:
           Location; Barstow Desert
           Circumstances giving rise to this claim:
          Claimant went on a hike In the Barstow desert on or about July 11, 2020. Claimant became ill around 8/6/2020 and sought
          medical treatment. He was hospitalized and later diagnosed with Valley Fever on 8/16/2020. The City / Bureau of Land Management
          negligently failed to warn claimant of the dangers associated with Valley Fever and that the land was contaminated.


                                                                Page 1 of 3


                                                             Exhibit 1
                                                                14
 Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 13 of 28 Page ID #:16




I.




     6.    General description of the indebtedness, obligation, injury, damage or loss incurred so far as It may be known at the lime
           of the presentation of the claim.
            Obligation to warn Claimant about the risk of contracting Valley Fever in the public land where he was hiking.




     6.    The name or names of the pubic employee or employees causing the injury, damage, or loss. if known.
           Bureau of Land Management or City of Barstow or Unknown




     7.    If amount claimed totals less than $10,000: If the amount claimed totals less than ten thousand dollars ($10,000) as
           of the date of presentation of the claim, including the estimated amount of any prospective injury, damage, or loss, Insofar
           as it may be known at the time of the presentation of the claim, together with the basis of computation of the amount
           claimed.

            Amount Claimed and basis for computation:
            Medical bills are still being calculated. TBD




     8.    If amount claimed exceeds $10,000: If the amount claimed exceeds ten thousand dollars ($10,000), no dollar amount
           shall be included in the claim. However, it shall indicate whether the claim would be a limited civil case. A limited civil
           case Is one where the recovery sought, exclusive of attorney fees, interest and court costs, does not exceed $25,000. An
           unlimited civil case is one in which the recovery sought is more than $25,000. See California Code of Civil Procedure
           Pe.

           LI Limited Civil Case                             Di Unlimited Civil Case

     9.    Name, address and telephone number of any witness(es) to the occurrence or transaction which gave rise to the claim
           asserted:
           Walter Dumas (brother of claimant)
           Lissete Dumas (wife of claimant)




     10.   If the claim Involves medical treatment for a claimed injury, please provide the name, address and telephone number of
           any doctor(s) or hospital(s) providing treatment:
            Facey Medical Group, 11333 N Sepulveda Blvd, Mission Hills CA 91345, T: 818-365-9531
            Facey Medical Group, 9111 Corbin Ave, Northridge CA 91324, T: 818-743-5700
           Dr. George Melikian, M.D., 11333 N Sepulveda Blvd, Mission Hills CA 91345, T: 818-365-9531


           II applicable, please attach any medical records or reports, medical bills or similar documents supporting your
           claim.




                                                                 Page 2 c18


                                                              Exhibit 1
                                                                 15
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 14 of 28 Page ID #:17




  11.     If the claim relates to an automobile accident:

            Claimant(s) Auto Ins, Co.:                                                Telephone:
            Address:
                                                                                      Insurance Policy No.:


            Insurance Broker/Agent:                                                   Telephone:
            Address:


            Claimant's Veh. Lb. No,:                                                  Vehicle Make/Year:
            Claimant's Drivers Lb. No.:                                               Expiration:

          If applicable, please OMNI any repair bills, estimates or similar documents supporting your claim.



                                                          READ CAREFULLY
  For all accident claims, place on following diagram name of       City/Agency vehicle at time of accident by "A-I' and location of
  streets, Including North, East, South, and West; indicate place   yourself or your vehiole at the time of the accident by "B-1" and
  of accident by "X" and by showing house numbers or distances      the point of Impact by "X,"
  to street corners. If City/Agency Vehicle was involved,
  designate by letter 'A" location of City/Agency Vehicle when      NOTE: If diagrams below do not fit the situation, attach hereto
  you first saw It, and by "B" location of yourself or your vehicle a proper diagram signed and by claimant.
  when you first saw City/Agency Vehicle; location of




                                                             SIDEWALK
        CURB

                                                                                                                      CURB
                                                             PARKWAY
                                                             SIDEWALK




 Warning: Presentation of a false claim is a felony, See California Penal Code §72. In the event a legal action Is filed and it is
 determined that the the action was not flied In good faith and with reasonable cause, the City/Agency may seek to recover all costs
 of defense, See California Code of Civil Procedure §1038.




                                       _tez)                                             1/25/2021
 Signature of the Claimant or Person acting on the Claimant's behalf                     Date
                                                              Page 3 of 3


                                                            Exhibit 1
                                                               16
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 15 of 28 Page ID #:18




                                                              U.S. Postal Service'
                                                              CERTIFIED MAIL? RECEIPT
                                7 1319 1 12013000 04236020




                                                              DomeVic MO Only
                                                              rr_q delivery                        vis,!
                                                                                             re
                                                                    P

                                                             Ontlfied Malt Pee $3 60
                                                                                 .

                                                             Una Services & Pees Ow* bet odd Awe
                                                             ONtum Now lunkcorh              $
                                                                      flood0 *aro*           $
                                                             ElWald Mal Assibled     Orkery
                                                             Oki& eloiltre abqubed                 $       $0.00
                                                               Addit Bignituo Riaaktod Nifty S
                                                             poetic.             $0.75
                                                             otil Portage and
                                                                                 l ir     20

                                                                                                       the/ (ovnGo
                                                                                                       niir'2..ue,ri
                                                                                                                 I
                                                                                                        411
                                                                tro(nk 3ki(10,          ";11.5 PSI/ 76-34!"Ztot0,901;   e




                                                              Exhibit 1
                                                                 17
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 16 of 28 Page ID #:19




                                    CLAIM AGAINST COUNTY OF SAN BERNARDINO
                         (CLAIM FORM MUM' OE FILLED OUT liFt6PMAY Oli CLAIM NUL BE Rel)fiNEO WITHOUT' PILING)

   DATE:           1/22/2021

   Claim is hereby made against the treasury of the County of San Bernardino, State of California, as follows:


   * Less than $10,000- State thatotal amount claimed $                              TBD
   • More than $16,000 - Check one of the boxes:
     0 Municipal Court Jurisdiction ($10,000 - $25,000)                         V/     Superior Court Jurisdiction ($25,001 and up)

   Claimant makes the following statements In support of the claim:

   1. Name of Claimant:                George Dumas                                                           818-263-6327
                                           First                       Middle                     I-sal          (Area Coda and Phone No.)


   2.    Address of Claimant:                                                                                           .
                                                Street                                     City                                  Zip Code
         Gender: 6/ Male      Female   Date of Birth: 6/10/1985       ss#. UNK
                 The information Requested Is Mandatory If Preseneing a Claim for Bodily Injury)"'

   3.    Notices concerning claim should be sent to:
          Alan S. Turlington                           1415 Warner Ave, #B      92780               949-575-8874
         Name                                         Address                  Zip Code            (Area Code and Phone No.)
                                                            Claimant went on a hike in the Barstow desert on or
   4.    Circumstances giving rise to claim are as follows:
          _ about July 11, 2020. Claimant became ill around 8/6/2020 and sought medical treatment.
          He was hospitalized and later diagnosed with Valley Fever on 8/16/2020.
                                                                                                             -
          The County negligently failed to warn claimant of the dangers associated with Valley Fever
            and that the land was contaminated.

   s.    Date, Time and Place (city, street, cross-street) damage occurred and nature thereof: Barstow Desert on or
          about July 11, 2020. Claimant did not become ill until 8/6/2020. After hospitalization, he was
          diagnosed with Valley Fever on 8/16/2020.                          .

   6.    Public property and/or public officers or employees causing injury, damage or loss:
          Unknown


   7.    Nnme, address and telephone number of witoesses:Waiter Dumas brother of claimant •
          Lissete Dumas (wife of claimant)

   B.    Basis of computation of claimed amount is as follows:
           Medical expenses to date     TBD                                                Loss wages TBD
           Estimated future medical expenses TBD                                           General damages TBD
           Other eiperises                                                                 property damage
           Other damages 1 til)                                                                                                         .
                                                                                                    )

                                                                                                  almant or epresen eve (Signatu
   RETURN COMPLETED FORM TO:
   Risk Mariarierbent Division -County of San Bernardino, State oi cartrornts                                 Office: (9m) ais-eim
   222W. i-tospttality Lane, s's! Floor                                                                     • Fax      (909) 382-3212
   San Bernardino, OA 02415.0016
   .:..


                                                                                                                                    ,
                                                                                                                                              •
                                                                                                                                Revised 8-2011




                                                                    Exhibit 1
                                                                       18
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 17 of 28 Page ID #:20




                              U.S. Postal Service"
                              CERTIFIED MAIL RECEIPT



                            Oar*lid AIM Pos t 3.60                                             0105
                                                                     aS
                            Lbw Services I Nes phich boo. 0$1API 10.40P(W#04    7.      " V
                             Dummfty$1100$10               $
                             Oftimmamoptw.d.m4             •    $0.00          1/ /4,
                             00.10ftilidiummowdimmq $            10.01141t
                            lowisommgmlow                I      0.00 t                         e
                             OAdiveritut. rostedtbd maw), $
                            Paktso•          $0.55                                 4



                                                        ext
                                                                                           rci TIOOr
                                                                                        1,10
                                                                                    SNAlo,,,AMIMAWORM,




                                               Exhibit 1
                                                  19
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 18 of 28 Page ID #:21




            CLAIM FOR DAMAGE,                                          INSTRUCTIONS: Please read carefully the Instructions on the                    FORM APPROVED
                                                                       reverse side and supply information requested on both sides of this            OMB NO. 1105-0008
             INJURY, OR DEATH                                          form. Use additional sheet(s) if necessary. See reverse side for
                                                                       additional instructions.

1. Submit to Appropriate Federal Agency:                                                        2. Name, address of claimant, and claimant's personal representative If any,
                                                                                                   (See Instructions on reverse). Number, Street, City, State and Zip code.

Bureau of Land Management                                                                       George Dumas (Claimant)
                                                                                                Alan S. Turlington (Attorney)
                                                                                                1415 Warner Ave., Ste. B, Tustin, CA 92780

3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH             5. MARITAL STATUS         6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M,)
     a   MILITARY     0    CIVILIAN      06/10/1985                   M                         07/1'1/2020
8. BASIS OF CLAIM (State In detail the known facts and circumstances attending the damage, Injury, or death, identifying persons and property involved, the place of occurrence and
   the cause thereof. Use additional pages if necessary).


The Bureau of Land Management failed to warn the visitors that parts of the Barstow Desert were contaminated with the Valley
Fever Virus. Claimant, George Dumas, was diagnosed with the Valley Fever a month or so after going on a hike to the Barstow
Desert.



9.                                                                                PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER,             IF OTHER THAN CLAMANT (Number, Street, City, State, and Zip Code).


BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).




10.                                                                    PERSONAL INJURYNVRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

Claimant, George Dumas, was diagnosed with the Valley Fever after a hike on the Barstow Desert. Bureau of Land
Management failed to warn the visitors that parts of the desert were contaminated.



11.                                                                                    WITNESSES

                               NAME                                                              ADDRESS (Number, Street, City, State, and Zip Code)




12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)

12a, PROPERTY DAMAGE                     12b. PERSONAL INJURY                             12c. WRONGFUL DEATH                    12d. TOTAL (Failure to specify may cause
                                                                                                                                      forfeiture of your rights).

                                                    $1,000,000,000                                                                          $1,000,000,000
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side).                                  136. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE

                     ` •         1 prrip,,
                                    '                 (Attorney)                                949-575-8874                                              02/11/2021
                                       , I-
                              CIVIL PENALTY FOR PRESENTING                                                   CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                     FRAUDULENT CLAIM                                                             CLAIM OR MAKING FALSE STATEMENTS

The claimant Is liable to the United States Government for a civil penalty of not less than     Fine, imprisonment, or both, (See 18 U.S.C. 287, 1001.)
$6,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3720).

Authorized for Local Reproduction                                               NSN 7540-00-634-4046                                      STANDARD FORM 95 (REV. 2/2007)
Previous Edition Is not Usable                                                                                                            PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                          28 CFR 14.2
95-109




                                                                                    Exhibit 1
                                                                                       20
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 19 of 28 Page ID #:22




                                                                                 INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it Is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

15, Do you carry accident Insurance?           Yes    If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. 111 No




16. Have you tiled a claim with your insurance carrier in his instance, and if so, Is it full coverage or deductible?         Yes    [1] No      17. If deductible, state amount.




18.If a claim has been tiled with your carrier, what action has your Insurer taken or proposed to take with reference to your claim? (It Is necessary that you ascertain these facts).




19.Do you carry public liability and property damage insurance?           Yes    If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).    Li No



                                                                                       INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.
                                                         Complete all Items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SLIM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY VVITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A MAIM FOR MONEY                                     TWO_YEARS AFTER THE CLAIM ACCRUES.
Failure to completely execute this form or to supply the requested material within               The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim Invalid. A claim
Is deemed presented when it is received by the appropriate agency, not when It Is                (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                          written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                 nature and extent of treatment, the degree of permanent disability, If any, the prognosis,
                                                                                                 and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If Instruction is needed in completing this form, the agency listed In Item ft1 on the reverse   hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found In Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is               (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                              repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                 by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                 receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant, A claim presented by an agent or legal representative         (c) In support of claims for damage to property which is not economically repairable, or If
must be presented In the name of the claimant, If the claim Is signed by he agent or              he property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the ale or legal capacity of the person signing and be        cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant        after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                     preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                 two or more competitive bidders, and should be certified as being just and correct.

If claimant Intends to file for both personal injury and properly damage, the amount for
each must be shown in item number 12 of this form.                                               (d) Failure to specify a sum certain will render your claim invalid and may result In
                                                                                                 forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
This Notice is provided In accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and         B. Principal Purpose: The Information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice Is attached.           C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
   A. Authority: The requested information is solicited pursuant to one or more of the          submitting this form for this Information.
       following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 at seq., 28 C.F.R.     D. Effect of Failure to Respond: Disclosure Is voluntary. However, failure to supply he
       Part 14.                                                                                 requested informa ion or to execute the form may render your claim "invalid."

                                                                         PAPERWORK REDUCTION ACT NOTICE

This notice Is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing Instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
Information, Send comments regarding his burden estimate or any other aspect of this collection of Information, Including sugges ions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

                                                                                                                                           STANDARD FORM 95 REV. (2/2007) BACK




                                                                                      Exhibit 1
                                                                                         21
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 20 of 28 Page ID #:23




                              U.S. Postal Service.'
                              CERTIFIED MAIL RECEIPT
                              Pt on leti II   MOJV          f    Y

                              ro,             y Inintii1311011 visil mu                at



                            teriffied MANN Noe
                                                     41".            4."
                                                                                 IAL
                                                 $3 .60
                                                                            , 0135
                            tdra Borvinft 6 Fun Pm*b" Wens trete*
                             0 flaw, NO*4 PA0O0410       $    *
                             CI tutu nacwo idootoriti    $
                                codurd Mal lisebttai NM/
                             0haul 41,,ww•                              •    0.00
                             D mum tilansbas                    DeAri
                            Pasi•O•                                                             9 2.
                                                                                                  r.3.1.—•
                                                  $0.55
                            L  ai Postage end tor 00
                                                                                            02/11/2021

                             Cant lb
                                       •                                          t‘itittUMNIT
                                                                                  kda4
                                1:qi ;MOO, Aptil                             •          Sec. ibn,o, co fhi ;tit ir




                                                 Exhibit 1
                                                    22
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 21 of 28 Page ID #:24




       1

       2

       3

      4
      5

      6

      7

      8
                                 XIllBIT B
   9

  10
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22
  23

  24

 25

 26

 27

 28

                                      8
                                  COMPLAINT



                                    Exhibit 1
                                       23
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 22 of 28 Page ID #:25




                                                             222 West Hospitality Lane, Third Floor, San Bernardino, CA 92415

                                                                                                              www.SBCounty.gbv

      SAN BERNARDINO                                                                           LeAnna WIWarne
                                          Dopartment of
     COUNTY                               Risk Management
                                                                                               Director

                                                                                               Phone Number
                                                                                               909380.8655

       February 10,2021                                                                        Fax Numbers
                                                                                               AdmIn/Fiscal; 909.352.3211
                                                                                               Workers Comp: 909.386.8711
                                                                                                             909.386.3211
       Tush Law                                                                                Safety:       909.382.3212
       1415 Warner Ave #B
       Tustin, CA 92780


       Attention: Alan S. T.urlington


       RE:    Claimant               George & Lissete Dumas
              Date of Loss           07/11/2020
              Amount of Claim        Undetermined
              Our File               136614

       Notice is hereby given that the claim you presented to the County of San Bernardino on February
       2, 2021 is being returned because it was not presented within six (6) months after the event or
       occurrence as required by law. See Section 901 and 911.2 of the Government Code. Because the
       claim was not presented within the time allowed by law, no action was taken on your claim.

       Your only recourse at this time is to apply without delay to the County of San Bernardino for leave
       to present a late claim. See Section 911.4 to 912.2 inclusive, and Section 946.6 of the Government
       Code, Under some circumstances, leave to present a late claim will be granted. See Section 911.6
       of the Government Code.

       You may seek the advice of an attorney of your choice in connection with this matter. If you desire
       to consult an attorney, you should do so immediately.




       Lynden Salonga
       Liability Claims Representative II
       DEPARTMENT OF RISK MANAGEMENT
       (909) 386-8609
                                                                                                         BSWARo




                                                                                                    1.,c(11)ii td X- I   hr nandez
                                                                                                                Xfaut.,




                                                Exhibit 1
                                                   24
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 23 of 28 Page ID #:26




                      SUPERIOR COURT OF CALIFOkNIA, t.;OUN                         OF SAN BERNARDINO


  GEORGE DUMAS                                                           Case h I.V     SB 2122ZiS2

                          vs.                                            CERTIFICATE OF ASSIGNMENT

 . CITY OF BARSTOW, et al.

  A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
  is the residence of a party, name and residence shall be stated.
  The undersigned declares that the above-entitled matter is filed for proceedings in the
   SAN BERNARDINO                    District of the Superior Court under Rule131 and General Order
  of this court for the checked reason:
         El General                    0 Collection
                Nature of Action             Ground
             1. Adoption                    Petitioner resides within the distri
             2. Conservator                 Petitioner or conservatee resides within the district.
             3. Contract                    Performance in the district is exp essly provided for,
             4. Equity                      The cause of action arose within he district.
             5. Eminent Domain              The property is located within the district.
             6. Family Law                  Plaintiff, defendant, petitioner or spondent resides within the district.
             7. Guardianship                Petitioner or ward resides within t e district or has property within the district.
             8. Harassment                  Plaintiff, defendant, petitioner or spondent resides within the district.
             9. Mandate                     The defendant functions wholly thin the district.
             10.Name Change                 The petitioner resides within the istrict.
             11.Personal Injury             The injury occurred within the dis ct.
             12. Personal Property          The property is located within the istrict.
             13. Probate                    Decedent resided or resides withi or had property within the district.
             14. Prohibition                The defendant functions wholly w hin the district.
             15. Review                     The defendant functions wholly w thin the district.
             16. Title to Real Property     The property is located within the istrict,
  0          17. Transferred Action         The lower court is located within t e district.
             18. Unlawful Detainer          The property is located within the Istrict.
             19. Domestic Violence          The petitioner, defendant, plaint' or respondent resides within the district.
  0          20. Other
  0          21. THIS FILING WOULD         NORMALLY FALL WITHIN JURISIpICTION OF SUPERIOR COURT
   The address of the accident, performance, party, detention, place of busine s, or other factor which qualifies this
   case for filing In the above-designed district is:
      CALICO MOUNTAINS in CITY OF BARSTOW                                               IRWIN RD & OLD HWY 58
      NAME— INDICATE TITLE OR OTHERQUALIFYING FACTOR                                    ADDRISS


   BARSTOW                                                        CA                                    92311
      CITY                                                               STATE                                ZIP CODE

  I declare, under penalty of perjury, that the foregoing is true and corr et and that this declaration was
  executed on 8/3/2021                   at TUSTIN
  California.

                                                                                   0‘
                                                                                   4        Ifrita?,
                                                                                        *flak/ a ,f Attorney/Party

 Form # 13-16503400                                    CERTIFICATE OF ASSIGNMENT                           Rev. June 2019
 Mandatory Use




                                                             Exhibit 1
                                                                25
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 24 of 28 Page ID #:27




                                 OFFICIAL RECEIPT
                           SUPERIOR COURT OF CALIFOR IA -
                             COUNTY OF SAN BERNARDI 0
                            San Bernardino District - Civil Divi ion
                                   247 West Third Street
                              San Bernardino, CA 92415-021

                                  GET ONLINE, NOT INLINE
                                      www.sb-court.org

                           Receipt No. SC-2021-52611
                           Transaction Date 09/08/2021
                           Payor
                            Cal West Attorney Services, IN
                            1201 West Temple Street
                            Los Angeles, CA 90026
                                                             A ount
                           Description
                                                                aid
                           Dumas, George
                           CIVSB2122482
                           Dumas -v- City of
                           Barstowet al
                           Unlimited Civil - Complai         4 5.00
                            SUBTOTAL                         415.00
                           Remaining Balance
                                                                  0.00
                           Due:

                           PAYMENT TOTAL                     4 6.00

                           Check (Ref #21728)
                                                             4 5.00
                           Tendered
                           Total Tendered                    4 5.00
                           Change                              0.00
                           09/08/2021   Cashier CHJohnson         Audit
                           03:49 PM     Station SJCVC321-C   62   4997

                                   OFFICIAL RECEIPT




                                         Exhibit 1
                                            26
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 25 of 28 Page ID #:28




                                            SUPERIOR COURT OF CALIF° NIA,
                                             COUNTY OF SAN BERNARDI 0
                                                 San Bernardino District
                                                     247 West 3rd St
                                                San Bernardino CA 92415
                                                    www.sb-court.org
                                                      909-708-8678

                                                 Dumas -v- City of Barstowet al
                                                                                                    Case Number
       NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT
                                                                                                    CIVSB2122482
       TUSH LAW LTD.
       1415 Warner AVE
       STE B
       tustin CA 92780

       This case has been assigned to: Bryan Foster in for all purposes.

       Notice is hereby given that the above-entitled case has been set for Trial Setting Conference on:

                                                      Hearing Date:     at in

       The Trial Setting Conference will be held in chambers without the appe4rance of the parties — except for good
       cause shown. (see Emergency Local Rule 411.1).

       Parties shall file and serve no later than 15 days prior to the trial setting conference the mandatory Initial Trial
       Setting Conference Statement form (local form #13-09001-360) include with this notice. Prior to the date of
       the initial trial setting conference, the court may entertain a written stipu ation by all appearing parties to
       continue the initial trial setting conference if filed at least 30 days prior t the conference.

       Date: 9/13/2021                                                Nancy CS berhardt, Court Executive Officer


                                                                      By:
                                                                            Chad                    puty Clerk



                                                  CERTIFICATE OF SERVICE

       I am a Deputy Clerk of the Superior Court for the County of San Berner ino at the above-listed address. I am
       not a party to this action and on the date and place shown below, I sery d a copy of the above-listed notice by:
       •    Enclosed in a sealed envelope mailed to the interested party addr ssed above for collection and mailing
            this date, following standard Court practices.
       CI Enclosed in a sealed envelope, first class postage prepaid in the ,S. mail at the locatiOn shown above,
            mailed to the interested party and addressed as shown above or a shown on the attached listing.
       O A copy of this notice was given to the filing party at the counter,
       o A copy of this notice was placed in the bin located at this office an Identified as the location for the above
            law firm's collection of file-stamped documents.
       Date of Mailing: 9/13/2021

       I declare under penalty of perjury that the forgoing is true and correct.    xeouted on 9/13/2021 at San
       Bernardino, CA.


                                                                      By:
                                                                            Charl                Deputy Clerk




                                                          Exhibit 1
                                                             27
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 26 of 28 Page ID #:29




     NAME ANO ADDRESS OF ATTORNEY OR PARlY WITHOUT ATTORNEY                        STATE BAR NUMBER                              Reserved for Clerk's me Stamp




     TELEPHONE NO.:
     E-MAIL ADDRESS:                                       TRIAL SETTING CONFERENCE DATE:
     ATTORNEY FOR (Name):                                  UNLIMITED CASE:
     FAX NO. (Optional):                                   LIMITED CASE:
         SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERSIARDINO
     COURTHOUSE ADDRESS:

     PLAINTIFF:

     DEFENDANT:
                                                                                                                       CASE NUMBER:
                  INITIAL TRIAL SETTING CONFERENCE STATEMENT
    INSTRUCTIONS: All applicable boxes must be checked, and the specified Information must be provided. This document
    must be filed and served at least 15 days prior to the trial setting conference date,

    1.    Party or parties (answer one):
              a. 0 This statement is submitted by party (name):
              b. 0 This statement is submitted jointly by parties (names):

    2.    Service of Complaint on all parties has 0                has not    0   been completed.

    3.    Service of Cross-Complaint on all parties has 0                    has not 0    been comj:1leted.

    4.    Description of case In Complaint:

    5.    Description of case in Cross-Complaint:


    6.    Has all discovery been completed: Yes 0                   No 0       Date discovery antic' ated to be completed:

    7.    Do you agree to mediation? Yes             CI       No   ID   Please check type agreed t        Private:           Court-sponsored:

    8.    Related cases, consolidation, and coordination: Please attach a Notice o Related Case.

         0 A motion to         El consolidate          0      Trial dates requested: Yes       ID     N   0   Available dates:
         Time estimate:

         Other issues:
         CI The following additional matters are requested to be considered by the C
    10. Meet and Confer:
        0 The parties represent that they have met and conferred on all subjects reuired by California Rules of Court, Rule 3.724.

          0   The parties have entered into the following stipulation(s):

    11. Total number of pages attached (if any):

          I am completely familiar with this case and will be fully prepared to discuss th status of discovery and alternative dispute
          resolution, as well as other issues raised by this statement, and will possess he authority to enter into stipulations on these
          issues at the time of the Initial Trial Setting Conference, including the written uthority of the party where required.
          Date:


               (TYPE OR PRINT NAME)                                                             (SIG      TURE OF PARTY OR ATTORNEY



               (TYPE OR PRINT NAME)                                                             (SIG      TURE OF PARTY OR ATTORNEY



   Form # 13-09001-360                         INITIAL TRIAL SETTING CONFERENCE ST TEMENT
   Mandatory Form



                                                                           Exhibit 1
                                                                              28
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 27 of 28 Page ID #:30




    NAME AND ADDRESS Of ATTORNEY OR PARTY WITHOUT ATTORNEY                       STATE BAR NUMBER                              Reserved for Clerk's Fe Stomp




    TELEPHONE NO.:
    E-MAIL ADDRESS:                                       TRIAL SETTING CONFERENCE DATE:
    ATTORNEY FOR (Name):                                  UNLIMITED CASE:
    FAX NO. (Optional):                                   LIMITED CASE:

        SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
    COURTHOUSE ADDRESS:

    PLAINTIFF:

    DEFENDANT:

                                                                                                                      CASE NUMBER:
                 INITIAL TRIAL SETTING CONFERENCE STATEMENT

   INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
   must be filed and served at least 15 days prior to the trial setting conference date.

   1.   Party or parties (answer one):
            a. 0 This statement is submitted by party (name):
            b. 0 This statement is submitted jointly by parties (names):

   2.    Service of Complaint on all parties has 0               has not    0   been completed.

   3.    Service of Cross-Complaint on all parties has 0                   has not 0    been com eted.

   4.    Description of case in Complaint:

   5.    Description of case in Cross-Complaint:


   6.   Has all discovery been completed: Yes 0                     No 0     Date discovery anticl ated to be completed:

   7.    Do you agree to mediation? Yes 0                    No 0    Please check type agreed t         Private:           Court-sponsored:

   8.   Related cases, consolidation, and coordination: Please attach a Notice o Related Case.

        D A motion to         0    consolidate        0      Trial dates requested: Yes 0           N   0   Available dates:
        Time estimate:

   9.   Other issues:
        0 The following additional matters are requested to be considered by the Co rt:

   10. Meet and Confer:
       DI The parties represent that they have met and conferred on all subjects re • uired by California Rules of Court, Rule 3.724,

        0   The parties have entered into the following stipulation(s):

   11. Total number of pages attached (if any):

        I am completely familiar with this case and will be fully prepared to discuss thd status of discovery and alternative dispute
        resolution, as well as other issues raised by this statement, and will possess t e authority to enter Into stipulations on these
        issues at the time of the Initial Trial Setting Conference, including the written uthority of the party where required.
        Date:


              (TYPE OR PRINT NAME)                                                            (SIGN TURE OF PARTY OR ATTORNEY



              (TYPE OR PRINT NAME)                                                            (SIGN TURE OF PARTY OR ATTORNEY



  Form #13-09001-360                          INITIAL TRIAL SETTING CONFERENCE STA ENIENT
  Mandatory Form


                                                                           Exhibit 1
                                                                              29
Case 5:22-cv-00105-CAS-SP Document 1-1 Filed 01/18/22 Page 28 of 28 Page ID #:31




                          United States Department of the Interior
                                        BUREAU OF LAND MANAGEMENT
                                              California State Office
                                           2800 Cottage Way, Suite W1623
                                               Sacramento, CA 95825
                                            www.b1m,gov/office/califomia

                                                      June 22, 2021

      Tush Law
      1415 Warner Ave., Ste. B
      Tustin CA 92780
      For George Dumas, Claimant


      Dear Mr. Alan S. Turlington:

      This letter acknowledges receipt of the administrative claim you submitted to the Bureau of Land
      Management California State Office for damages. Your claim has been forwarded to the U.S.
      Department of the Interior, Office of the Solicitor, Torts Practice Branch for review and
      determination pursuant to the provisions of the Federal Tort Claims Act found at 28 U.S.C. §§
      2671-26801. Regulations pertaining to the FTCA can be found at Title 28, Code of Federal
      Regulations, Part 14; and Title 43, Code of Federal Regulations, Part 22,

      If you have any questions, you may contact me at (916) 978-4521, by email at beason@b1m.gov,
      or at the following address:

      Bureau of Land Management
      California State Office
      2800 Cottage Way, Ste. W-1623
      Sacramento, CA 95825

                                                          Sincerely,

                                                                              ft, A

                                                          Jim Beason
                                                          State Safety Manager & Tort Claims Officer




       Federal statutes and regulations can be accessed at www.govinfo.gov.
        INTERIOR REGIONS 8 & 10 • LOWER COLORADO BASIN & CALIFORNIA-GREAT BASIN
                                     ARIZONA, CALIFORNIA, NEVADA, OREGON*
                                                         " PARTIAL




                                                       Exhibit 1
                                                          30
